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                           UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              FORT LAUDERDALE DIVISION
                                   www.flsb.uscourts.gov


In re:                                                            CASE NO: 22-17842-PDR
                                                                  CHAPTER 11
VITAL PHARMACEUTICALS, INC.,

      Debtor.
___________________________________/

                      NOTICE OF APPEARANCE AND REQUEST FOR
                        SERVICE OF ALL NOTICES AND PAPERS

         PLEASE TAKE NOTICE that the undersigned appears as counsel on behalf of Creditor,

Monster Energy Company, pursuant to Rules 2002 and 9010(b) of the Federal Rules of Bankruptcy

Procedure, and requests that all notices given or required to be given in this case and all papers

served in this case be given to and served upon the following:


                        Andrea S. Hartley, Esq.
                        Akerman LLP
                        Three Brickell City Centre
                        98 Southeast Seventh Street
                        Suite 1100
                        Miami, FL 33131
                        E-Mail: andrea.hartley@akerman.com


         PLEASE TAKE FURTHER NOTICE that the foregoing request includes not only notices

and papers referred to in the Rules specified above, but also includes, without limitation, orders

and notices of any applications, motions, petitions, pleadings, requests, complaints or demands

whether formal or informal, whether written or oral, and whether transmitted or conveyed by mail,

delivery, telephone, telegraph, telex or otherwise, which affect the Debtor or property of the estate.




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     AKERMAN LLP, THREE BRICKELL CITY CENTER, 98 SOUTHEAST SEVENTH STREET, SUITE 1100, MIAMI, FL 33131
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Dated: October 13, 2022                          Respectfully submitted,

                                                 AKERMAN LLP
                                                 Three Brickell City Centre
                                                 98 Southeast Seventh Street
                                                 Suite 1100
                                                 Miami, FL 33131
                                                 Telephone: (305) 374-5600
                                                 Facsimile: (305) 374-5095

                                                 By: /s/ Andrea S. Hartley
                                                     Andrea S. Hartley, Esq.
                                                     Florida Bar No.: 864234
                                                     Email: andrea.hartley@akerman.com

                                                 Counsel for Creditor Monster Energy Company




                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on October 13, 2022, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document

is being served on this day by transmission of Notices of Electronic Filing generated by CM/ECF

to those parties registered to receive electronic notices of filing in this case.



                                                 By:     /s/ Andrea S. Hartley
                                                         Andrea S. Hartley, Esq.




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     AKERMAN LLP, THREE BRICKELL CITY CENTER, 98 SOUTHEAST SEVENTH STREET, SUITE 1100, MIAMI, FL 33131
